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                            UNITED STATES OF AMERICA
              U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

MICHIGAN URGENT CARE &
PRIMARY CARE PHYSICIANS, P.C.,


       Plaintiff,                                     Case No. 2:15-cv-10122


-vs-


LEGACY 2011 CREDIT INVESTOR, LLC,
and JOHN DOES 1-10,

       Defendants.

                              COMPLAINT – CLASS ACTION

       Plaintiff is not aware of any related cases.

1.     Plaintiff, Michigan Urgent Care & Primary Care Physicians, P.C., brings this action to

secure redress for the actions of Defendant Legacy 2011 Credit Investor, LLC in sending or

causing the sending of unsolicited advertisements to telephone facsimile machines in violation of

the Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA”).

2.     The TCPA expressly prohibits unsolicited fax advertising. Unsolicited fax advertising

damages the recipients. The recipient is deprived of its paper and ink or toner and the use of its

fax machine. The recipient also wastes valuable time it would have spent on something else.

Unsolicited faxes prevent fax machines from receiving and sending authorized faxes, cause wear

and tear on fax machines, and require labor to attempt to identify the source and purpose of the

unsolicited faxes.




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                                            PARTIES

3.     Plaintiff Michigan Urgent Care & Primary Care Physicians, P.C., is a professional

corporation with offices at 37595 7 Mile Road, Livonia, Michigan 48152, where it maintains

telephone facsimile equipment.

4.     Defendant Legacy 2011 Credit Investor, LLC is Georgia limited liability company with

offices at 880 N. Island Drive, Atlanta, Georgia 30327.

5.     Defendants John Does 1-10 are other natural or artificial persons that were involved in

the sending of the facsimile advertisements described below. Plaintiff does not know who they

are.

                                 JURISDICTION AND VENUE

6.     This Court has jurisdiction under 28 U.S.C. §§1331 and 1367. Mims v. Arrow Financial

Services, LLC, 132 S. Ct. 740, 751-53 (2012).

7.     Personal jurisdiction is proper because Defendant has committed tortious acts in this

District by causing the transmission of unlawful communications into the District.

8.      Venue in this District is proper for the same reason.

                                             FACTS

9.     On July 12, 2011, Plaintiff Michigan Urgent Care & Primary Care Physicians, P.C.

received the unsolicited fax advertisement attached as Exhibit A on its facsimile machine.

10.    On July 19, 2011, Plaintiff Michigan Urgent Care & Primary Care Physicians, P.C.

received the unsolicited fax advertisement attached as Exhibit B on its facsimile machine.

11.    On August 3, 2011, Plaintiff Michigan Urgent Care & Primary Care Physicians, P.C.

received the unsolicited fax advertisement attached as Exhibit C on its facsimile machine.


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12.    Discovery may reveal the transmission of additional faxes as well.

13.    Defendant Legacy 2011 Credit Investor, LLC is responsible for sending or causing the

sending of the faxes.

14.    Defendant Legacy 2011 Credit Investor, LLC as the entity whose products or services

were advertised in the faxes, derived economic benefit from the sending of the faxes.

15.    Defendant Legacy 2011 Credit Investor, LLC either negligently or wilfully violated the

rights of Plaintiff and other recipients in sending the faxes.

16.    Each fax refers to a website registered to Defendant Legacy 2011 Credit Investor, LLC.

17.    The faxes have a “remove” number at the bottom that is associated with the mass

broadcasting of advertising faxes.

18.    The faxes do not contain an “opt out” notice that complies with 47 U.S.C. §227.

19.    Plaintiff had no prior relationship with Defendant and had not authorized the sending of

fax advertisements to Plaintiff.

20.    On information and belief, the faxes attached hereto were sent as part of a mass

broadcasting of faxes.

21.    On information and belief, Defendant has transmitted similar unsolicited fax

advertisements to at least 40 other persons in Michigan.

22.    There is no reasonable means for Plaintiff or other recipients of Defendant’s unsolicited

advertising faxes to avoid receiving illegal faxes. Fax machines must be left on and ready to

receive the urgent communications authorized by their owners.

                                         COUNT I – TCPA

23.    Plaintiff incorporates ¶¶ 1-22.


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24.     The TCPA makes unlawful the “use of any telephone facsimile machine, computer or

other device to send an unsolicited advertisement to a telephone facsimile machine ...” 47 U.S.C.

§227(b)(1)(C).

25.    The TCPA, 47 U.S.C. §227(b)(3), provides:

       Private right of action.

       A person or entity may, if otherwise permitted by the laws or rules of court of a State,
       bring in an appropriate court of that State–

                        (A) an action based on a violation of this subsection or the regulations
                        prescribed under this subsection to enjoin such violation,

                        (B) an action to recover for actual monetary loss from such a violation, or
                        to receive $500 in damages for each such violation, whichever is greater, or

                        (C) both such actions.

                 If the Court finds that the defendant willfully or knowingly violated this subsection
                 or the regulations prescribed under this subsection, the court may, in its discretion,
                 increase the amount of the award to an amount equal to not more than 3 times the
                 amount available under the subparagraph (B) of this paragraph.


26.     Plaintiff and each class member suffered damages as a result of receipt of the unsolicited

faxes, in the form of paper and ink or toner consumed as a result. Furthermore, Plaintiff’s

statutory right of privacy was invaded.

27.     Plaintiff and each class member is entitled to statutory damages.

28.     Defendant violated the TCPA even if its actions were only negligent.

29.     Defendant should be enjoined from committing similar violations in the future.

                                      CLASS ALLEGATIONS

30.    Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), Plaintiff brings this claim on behalf of a class,

consisting of (a) all persons (b) who, on or after a date four years prior to the filing of this action

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(28 U.S.C. §1658), (c) were sent faxes by or on behalf of Defendant Legacy 2011 Credit Investor,

LLC promoting its goods or services for sale (d) and which did not contain an opt out notice as

described in 47 U.S.C. §227.

31.    The class is so numerous that joinder of all members is impractical. Plaintiff alleges on

information and belief that there are more than 40 members of the class.

32.    There are questions of law and fact common to the class that predominate over any

questions affecting only individual class members. The predominant common questions include:

       a.      Whether Defendant engaged in a pattern of sending unsolicited fax advertisements;

       b.      The manner in which Defendant compiled or obtained their list of fax numbers;

       c.      Whether Defendant thereby violated the TCPA.

33.    Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has retained

counsel experienced in handling class actions and claims involving unlawful business practices.

Neither Plaintiff nor Plaintiff's counsel have any interests which might cause them not to

vigorously pursue this action.

34.    Plaintiff’s claims are typical of the claims of the class members. All are based on the

same factual and legal theories.

35.    A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of separate

claims against Defendant is small because it is not economically feasible to bring individual

actions.

36.    Several courts have certified class actions under the TCPA. Holtzman v. Turza, 08 C

2014, 2009 U.S. Dist. LEXIS 95620 (N.D.Ill., Oct. 14, 2009), aff’d in relevant part, 728 F.3d 682


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(7th Cir. 2013); Sadowski v. Med1 Online, LLC, 07 C 2973, 2008 U.S. Dist. LEXIS 41766

(N.D.Ill., May 27, 2008); CE Design Ltd. v Cy's Crabhouse North, Inc., 259 F.R.D. 135 (N.D.Ill.

2009); Targin Sign Sys. v Preferred Chiropractic Ctr., Ltd., 679 F. Supp. 2d 894 (N.D.Ill. 2010);

Garrett v. Ragle Dental Lab, Inc., 10 C 1315, 2010 U.S. Dist. LEXIS 108339, 2010 WL 4074379

(N.D.Ill., Oct. 12, 2010); Hinman v. M & M Rental Ctr., 545 F.Supp. 2d 802 (N.D.Ill. 2008);

Clearbrook v. Rooflifters, LLC, 08 C 3276, 2010 U.S. Dist. LEXIS 72902 (N.D. Ill. July 20,

2010) (Cox, M.J.); G.M. Sign, Inc. v. Group C Communs., Inc., 08 C 4521, 2010 U.S. Dist.

LEXIS 17843 (N.D. Ill. Feb. 25, 2010); Kavu, Inc. v. Omnipak Corp., 246 F.R.D. 642

(W.D.Wash. 2007); Display South, Inc. v. Express Computer Supply, Inc., 961 So.2d 451, 455

(La. App. 1st Cir. 2007); Display South, Inc. v. Graphics House Sports Promotions, Inc., 992 So.

2d 510 (La. App. 1st Cir. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok. App. 2006); ESI

Ergonomic Solutions, LLC v. United Artists Theatre Circuit, Inc., 203 Ariz. (App.) 94, 50 P.3d

844 (2002); Core Funding Group, LLC v. Young, 792 N.E.2d 547 (Ind.App. 2003); Critchfield

Physical Therapy v. Taranto Group, Inc., 293 Kan. 285; 263 P.3d 767 (2011); Karen S. Little,

L.L.C. v. Drury Inns. Inc., 306 S.W.3d 577 (Mo. App. 2010).

37.    Management of this class action is likely to present significantly fewer difficulties that

those presented in many class actions, e.g. for securities fraud.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

the class and against Defendant for:

       a.      Statutory damages;

       b.      An injunction against the further transmission of unsolicited fax advertising;

       c.      Costs of suit;


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    d.    Such other or further relief as the Court deems just and proper.




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                                           NOTICE OF ASSIGNMENT

         Please be advised that all rights relating to attorney’s fees have been assigned to counsel.


                                                  /s/ Daniel A. Edelman
                                                  Daniel A. Edelman


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